                         IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


TAREK ISAAK MENTOURI                          )
                                              )
       v.                                     )      NO. 3:19-01076
                                              )
FIFTH THIRD BANK, NATIONAL                    )
ASSOCIATION                                   )


TO: Honorable Aleta A. Trauger, District Judge


                     REPORT AND RECOMMENDATION

       By Order entered December 12, 2019 (Docket Entry No. 7), the Court referred this pro se

action to the Magistrate Judge for pretrial proceedings.

       Presently pending before the Court is the motion for summary judgment (Docket Entry

No. 10) filed by Defendant Fifth Third Bank, National Association. The motion is opposed by

Plaintiff. For the reasons set out below, the undersigned does not address the merits of the motion

but respectfully recommends that this case be dismissed for lack of subject matter jurisdiction.


                                       I. BACKGROUND

       Tarek Isaak Mentouri (“Plaintiff”) is a resident of Nashville, Tennessee. On December 3,
2019, he filed this pro se lawsuit pursuant to diversity jurisdiction under 28 U.S.C. § 1332 against

Fifth Third Bank, National Association (“Defendant” or “Fifth Third”), a national bank with its

principal place of business in Ohio. See Complaint (Docket Entry No. 1). Plaintiff requests a jury

trial and seeks actual damages of $3,200.00, as well as consequential and punitive damages of no

less than $75,000.00, based upon what he contends was Defendant’s wrongful payment on a check

that had been stolen from him, fraudulently filled out and forged with his signature, and cashed on

his checking account with Defendant.




    Case 3:19-cv-01076 Document 16 Filed 10/22/20 Page 1 of 7 PageID #: 205
       The pertinent facts are as follows. Plaintiff asserts that he had two checks stolen from his

house by a woman, Casie William (“Williams”), whom he had hired to do some repair work. Before

Plaintiff discovered that the checks had been stolen, Williams fraudulently filled out one of the

checks in the amount of $3,200.00, forged Plaintiff’s name on the check, and cashed it at a Fifth

Third branch on May 30, 2019. The second check was also fraudulently filled out in the amount of

$4,500.00 and was presented to be cashed by a man named David Eafley, but the check was not

cashed after a Fifth Third employee contacted Plaintiff about the check and was informed by

Plaintiff that he had not issued the check. On May 31, 2019, Plaintiff filed a report about the theft

with the Metropolitan Nashville Police Department, resulting in the completion of an incident

report.1 The results of the police investigation are unknown.

       Plaintiff also filed a fraud/forgery claim with Defendant’s Disputes Resolution Department

in early June 2019. As part of his claim, Plaintiff stated that Williams “saw [the] check on kitchen

counter and stole it.”2 On June 19, 2019, Defendant made an initial decision to deny Plaintiff’s

claim for the following stated reason, “Our research shows that the check or account information

weren’t secured and this contributed to the forgery or fraud.”3 Plaintiff requested reconsideration

of the decision, asserting (1) that he had been told by a bank employee that there was a policy to call

account owners before cashing large checks, particularly when the redeemer was not a customer

with Defendant and (2) that his police report was being investigated.4 However, Defendant

ultimately affirmed its decision to deny the claim for the originally stated reason.5
       Plaintiff thereafter filed this lawsuit. Plaintiff claims that Defendant is liable under Tenn.

Code Ann. § 47-3-420 for making payment on the forged check. He also brings a claim under

       1
           See Docket Entry No. 11-3.
       2
           See Docket Entry No. 11-5 at 6.
       3
           Id. at 11.
       4
           Id. at 13.
       5
           Id. at 14.

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    Case 3:19-cv-01076 Document 16 Filed 10/22/20 Page 2 of 7 PageID #: 206
Tenn. Code Ann. § 47-3-307 for breach of fiduciary duty, contending that Defendant failed to

exercise its duty of care and did not follow its own check cashing policies by calling him about the

check before cashing it. Upon Defendant’s filing of an answer (Docket Entry No. 8), the Court

entered a scheduling order that provided the parties with a period for pretrial activity in the case,

including a period for discovery. See Docket Entry No. 9.


              II. MOTION FOR SUMMARY JUDGMENT AND RESPONSE

       Defendant seeks summary judgment under Rule 56 of the Federal Rules of Civil Procedure

on both of Plaintiff’s claims. With respect to Plaintiff’s statutory conversion claim under Tenn.

Code Ann. § 47-3-420, Defendant argues that the undisputed facts show that Plaintiff’s own lack

of ordinary care in not securing his checks in a safe place contributed to the forgery of the check

and, therefore, he is precluded by Tenn. Code Ann. § 47-3-406 from asserting a claim against

Defendant for recovery on the forged check that was cashed. See Memorandum in Support (Docket

Entry No. 12) at 3-5. With respect to Plaintiff’s breach of fiduciary duty claim, Defendant argues

that the relationship between Plaintiff and Defendant was that of only a depositor and bank/creditor,

which is not sufficient under Tennessee law to create a fiduciary duty that would support Plaintiff’s

claim. Id. at 7. Defendant further argues that, assuming that there is a basis for liability against it

for cashing the forged check, its liability is limited to the amount of the check, pursuant to both

Tenn. Code Ann. § 47-3-420 and the terms of the Deposit Account agreement between Plaintiff and

Defendant, and that there is no basis for the assessment of any type of consequential or punitive

damages against it based upon the facts of this case. Id. at 5-8.

       In response, Plaintiff first argues that he was unable to complete discovery because

Defendant would not answer his interrogatories, objecting that they were not timely served. See

Response (Docket Entry No. 14) at 3. Plaintiff then argues that (1) it is not an undisputed fact that

he left the checks unsecured in his house and (2) the evidence shows that Defendant did not act in

good faith by cashing the $3,200.00 check by virtue of the fact that one of its employees called


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    Case 3:19-cv-01076 Document 16 Filed 10/22/20 Page 3 of 7 PageID #: 207
Plaintiff about the $4,500.00 check prior to cashing it, which prevented that check from being

cashed, yet made no such phone call to Plaintiff with respect to the $3,200.00 check. Id. at 4-5.

Plaintiff asserts that he has a recording of a telephone call during which a bank teller states the

bank’s policy is to make such phone calls before cashing large checks . Id. Plaintiff then argues that

any limitation on his recovery to the amount of the forged check is presumed, not required, under

the law and that Defendant’s bad faith supports his request for consequential and punitive damages.

Id. at 6-8. Although Plaintiff attaches to his response a copy of his interrogatory requests to

Defendant, he has not filed any actual evidence in support of his response and claims, and he has

not made a direct response to Defendant’s statement of undisputed material facts.

       Also before the Court is Defendant’s reply. See Docket Entry No. 15. Defendant argues that

Plaintiff’s response is procedurally improper, that Plaintiff fails to either set forth admissible

evidence or cite to facts in the record that establish genuine issues of material fact with respect to

his claims and that Plaintiff has failed to provide any applicable legal basis for his assertion that

damages above the amount of the forged check are recoverable in this case. Defendant further

argues that Plaintiff’s attempt to raise a discovery dispute via his response should be denied.


                                           III. ANALYSIS

A. Plaintiff’s Discovery Issue

       The Court finds no merit to Plaintiff’s assertion that a discovery issue exists for which he
should be granted some measure of relief by the Court. The scheduling order set out May 1, 2020,

as the deadline for the completion of discovery, and very clearly alerted Plaintiff that any discovery

requests needed to be served at least thirty days prior to this deadline, and required that leave of the

Court be obtained for any untimely discovery requests. See Docket Entry No. 9 at 2. Plaintiff

ignored these directives and, although he had ample opportunity to engage in discovery that was

timely under the scheduling order, he did not serve discovery requests upon Defendant until

April 21, 2020. His discovery requests were untimely and in violation of the scheduling order and


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    Case 3:19-cv-01076 Document 16 Filed 10/22/20 Page 4 of 7 PageID #: 208
were properly objected to by Defendant. Additionally, although Plaintiff raised the discovery issue

via his response to the motion for summary judgment and not through a motion, the scheduling order

required that any discovery motions be filed by May 1, 2020, id., and he thus failed to timely raise

the issue.

        Plaintiff’s contention that his dilatory actions should be excused because of his pro se status

is unpersuasive to the Court. Being a pro se litigant does not permit a party to simply ignore a

Court’s clearly communicated deadlines. See Jourdan v. Jabe, 951 F.2d 108, 110 (6th Cir. 1991);

Cunningham v. Enagic USA, Inc., 2016 WL 5415106 at *1 (M.D. Tenn. Sept. 28, 2016); Mayers v.

Ellis, 2016 WL 891181 at *5 (M.D. Tenn. Mar. 8, 2016); Smith v. Woods, 2015 WL 8055912 at *1

(M.D. Tenn. Dec. 4, 2015).



B. Motion for Summary Judgment

        It is apparent that a substantial basis exists that requires dismissal of this case for reasons

other than those raised by Defendant in its motion. Because it appears to the Court that diversity

jurisdiction does not exist in the case, the Court lacks subject matter jurisdiction over the case and

dismissal is required.

        Instead of filing his lawsuit in state court, Plaintiff brought his case in federal court pursuant

to the Court’s diversity jurisdiction under 28 U.S.C. § 1332. The diversity statute requires that “the

matter in controversy exceed[ ] the sum or value of $75,000, exclusive of interest and costs.”
28 U.S.C. § 1332(a). Plaintiff seeks the recovery of actual damages of $3,200.00 for the amount of

the forged check, as well as consequential and punitive damages of no less than $75,000.00.

        Generally, courts view the jurisdictional amount as satisfied if a plaintiff sets out in the

complaint a request for relief that is made in good faith and that exceeds the amount in controversy.

Charvat v. GVN Michigan, Inc., 561 F.3d 623, 628 (6th Cir. 2009). If, however, it appears to a legal

certainty that a plaintiff’s claim is really for less than the required amount in controversy, diversity

jurisdiction does not exist. Id. Where the type of damages sought by a plaintiff are barred or limited


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    Case 3:19-cv-01076 Document 16 Filed 10/22/20 Page 5 of 7 PageID #: 209
by the applicable law, it is a legal certainty that the plaintiff cannot recover that type of damages and

the damages requested, thus, cannot be relied upon to satisfy the threshold amount for diversity

jurisdiction. Id; Rosen v. Chrysler Corp., 205 F.3d 918, 921 (6th Cir. 2000). When the amount

sought in the complaint was never recoverable in the first instance, dismissal is proper. Elliot v.

Garrett, 2018 WL 2137732 at *3 (M.D.Tenn. May 9, 2018).

        In the instant case, even if Plaintiff was successful on the merits of the conversion claim

brought under Tenn. Code Ann. § 47-3-420, his recovery on the claim is limited to $3,200.00, the

amount of the forged check. Tenn. Code. Ann. § 47-3-420(b) provides as follows:

        (b) In an action under subsection (a), the measure of liability is presumed to be the
        amount payable on the instrument, but recovery may not exceed the amount of the
        plaintiff's interest in the instrument.

This provision explicitly limits the maximum recovery to the amount of the forged check.

Furthermore, Tenn. Code Ann. § 47-1-305 specifically provides that “neither consequential or

special damages nor penal damages may be had except as specifically provided by chapters 1-9 of

this title [TUCC] or by other rule of law.” See also Glazer v. First Am. Nat'l Bank, 930 S.W.2d 546,

549 (Tenn.1996) (noting Section 47-1-305's limitation on recoverable damages had displaced the

common law of conversion with respect to the recovery of consequential damages for conversion

claims brought under the TUCC). The applicable law plainly limits Plaintiff’s recovery on this

claim to $3,200.00 and bars recovery of any additional damages.6

        Plaintiff’s arguments to the contrary, see Response at 6-9, are unpersuasive and unsupported
by the law in Tennessee. The two cases that he relies on for his arguments are factually

distinguishable and are also not controlling on this Court because they address matters of law from

other states. Plaintiff has not shown any legal support under Tennessee law based on the facts of

this case for recovery of damages above the amount of the forged check.


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         Plaintiff’s claim under T.C.A. § 47-3-307 fails to save his case from dismissal. That section
has no applicability to the facts of this case because it deals with situations in which a fiduciary
presents an instrument to a bank for payment or deposit. See generally C-Wood Lumber Co. v.
Wayne Cty. Bank, 233 S.W.3d 263 (Tenn.Ct.App. 2007) (discussing Section 47-3-307).

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    Case 3:19-cv-01076 Document 16 Filed 10/22/20 Page 6 of 7 PageID #: 210
       A failure to satisfy the amount-in-controversy requirement for diversity jurisdiction deprives

the Court of subject matter jurisdiction. Charvot, supra. The Court is obligated to ensure that it has

subject matter jurisdiction over the case before it, even if the issue is not raised by the parties,

Henderson ex rel. Henderson v. Shinseki, 562 U.S. 428, 434 (2011); Arbaugh v. Y&H Corp., 546

U.S. 500, 514 (2006), and the Court “shall dismiss” a case when it appears that subject matter

jurisdiction is lacking. Fed. R. Civ. P. Rule 12(h)(3). Because it is a legal certainty that Plaintiff

cannot recover damages in this case that satisfy the threshold amount for diversity jurisdiction,

dismissal of this action for lack of subject matter jurisdiction is required.


                                      RECOMMENDATION

       Based on the foregoing, it is respectfully RECOMMENDED that this action be DISMISSED

under Rule 12(h)(3) of the Federal Rules of Civil Procedure for lack of subject matter jurisdiction.

       ANY OBJECTIONS to this Report and Recommendation must be filed within fourteen (14)

days of service of this Report and Recommendation and must state with particularity the specific

portions of this Report and Recommendation to which objection is made. See Rule 72(b)(2) of the

Federal Rules of Civil Procedure and Local Rule 72.02(a). Failure to file written objections within

the specified time can be deemed a waiver of the right to appeal the District Court's Order regarding

the Report and Recommendation. See Thomas v. Arn, 474 U.S. 140 (1985); United States v.

Walters, 638 F.2d 947 (6th Cir. 1981). Any response to the objections must be filed within fourteen

(14) days after service of objections. See Federal Rule 72(b)(2) and Local Rule 72.02(b).



                                                       Respectfully submitted,




                                                       BARBARA D. HOLMES
                                                       United States Magistrate Judge



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    Case 3:19-cv-01076 Document 16 Filed 10/22/20 Page 7 of 7 PageID #: 211
